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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 V.                                                §   CASE NO. 2:10-CR-16(5)-TJW-CE
                                                   §
 RODNEY KIRK JENKINS                               §

               ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
                         FINDING DEFENDANT GUILTY

        On this day, the Court considered the Findings of Fact and Recommendation of United States

 Magistrate Judge Charles Everingham IV regarding Defendant’s plea of guilty and allocution to

 Count 1 of an information with a violation of 21 U.S.C. § 841(a)(1), possession with intent to

 distribute 500 grams or more of cocaine. Having conducted a proceeding in the form and manner

 prescribed by Fed. R. Crim. P. 11, the Magistrate Judge recommends that the Court accept the

 defendant’s guilty plea. The parties waived their right to file objections to the Findings of Fact and

 Recommendation. The Court is of the opinion that the Findings of Fact and Recommendation

 should be accepted.

        It is accordingly ORDERED that the Findings of Fact and Recommendation of the United

 States Magistrate Judge, filed November 12, 2010, are hereby ADOPTED.

        It is further ORDERED that, pursuant to Defendant’s plea agreement, the Court finds

 Defendant GUILTY of Count 1 of the information in the above-numbered cause.
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        SIGNED this 5th day of January, 2011.



                                          __________________________________________
                                          T. JOHN WARD
                                          UNITED STATES DISTRICT JUDGE




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